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United States Courts
So_uthern District of Texas
` FlLED
]nly 28, 2018
Un1ted States Distriot Court David J_ Brad,ey, C,erk mm

SOUTHERN DISTRICT OF_ TEXAS
MCALLEN DIVI SION

¢'\O 91 (Rev 810!) (`riiuinnlComplaint

 

 

 

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V- ~ . CRIMINAL COMPLAINT

Diego Fernando Sarmlento-Barralaga
Case Number: M-18-1556-M

lAE Y OB: 1988
H ondu ras '
(.\Iznue and /\ddress ol`Del`endunt)

l, the undersignedcomplainant being duly sworn state the following is true and correct to the best oi" my
knowledge and beliet`. On or about July 27, 2018 in Hida|qo COunty, in

the Southern District of Texas
(Track S/atulory lsangz/age aijj”en.\‘u)

being then and there an alien who had pieviously been deported from the United States to Honduras' in pursuance ot`law, and
thereafter was found near Hidalgu, Texas, within the Southe\ 11 Distriet ofTexas, the Attorney General of the United States and/01 the
Secretary of Homeiand Sccul' m not ther'etofoie having consented to a reapplication by the defendant for admission into t,l1e United
States;

in violation ot` Title 8 United States Code, Section(s) 1326 (Felony)
l i`u1ther state that l am a(n) 8_11_1'101 Patlol Agent and that this complaint is based on the
following facts:

Diego Fernando Sarmi_ento-Barr:)laga was encountered by Border Patrol Agents near Hidalgo, Texas on July 27, 2018. The
investigating agent established that the Defendant was an undocumented alien and requested record ehecks. The Det'endant claims to
have ii|egally entened the United ."~;t:)tes 011 July 27, 2018, near Hidalgo, Texas. Reeord checks revealed the Det`endant was formally
Deported/Excluded from the United States, for the second (an) time, 011 October 20, 2015 through Dallas, Texas. Prior to
Deportation/Exclusion the Defeni|=\nt was instructed not to return to the United States without permission from the U.S. Attorney
Gencral and/or the Seeretary ot' Homeland Security. 011 January 23, 2015, the defendant was convicted 0f8 USC l326 illegal Re-Entry
after Deportation and was sentenced to fifteen (lS) months confinement

t declare under penalty of perjurythat tnt- statements in this complaint are true and correct. Executed on Ju|y 28, 2018.

Continued 011 the attached sheet and made a part ofthis complaint: EYes .No

Submltted by reliable electronic means, sworn to and attested to telephon|cal|y
per Fed. R. Cr. P. 4.1, and probable cause found on: '
‘ /S/ Robert Ramirez

 

Sworrt to before me and subscribed in my presence, _ Signatur_e of Complainant
July 28, 2018 __ RobertRamirez j Senior Patrol Agent

 

 

J Scott Hacker ` , U.S. Magistrate Ju§ge %//)/[’\

Name and Title of Judiclal Officer _ S|gna of udicial Officer

 

 

